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                                                      Exhibit 14
                         Designations of Deposition Testimony of Todd Hunter (July 15, 2022)


             Plaintiffs’ Affirmative Designations                          Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’      Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                              Objections
        49:8                    50:7
       60:10                   62:22
       68:17                    69:6
       73:21                    74:7
        84:1                    84:5
       87:13                   90:13
       91:10                    92:4
       93:24                    94:7
      102:18                  103:10
       112:1                   113:6
       122:5                   123:2
       124:3                  125:12
      125:19                  125:24
      133:17                  134:16
      136:23                  137:13
      144:23                   146:1
      147:24                  149:10
      150:25                  151:11
      154:23                  155:19
      159:16                  159:25
      161:19                  163:20
       164:2                  164:17
      167:15                   169:7
       171:9                  171:16
      172:15                  173:25
      174:22                  175:23

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              Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line          End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                 Objections                                            Objections
       178:6                   180:16
       182:7                   182:16
      182:24                   185:18
      184:15                   184:25
      186:10                   186:18
       187:5                   187:23
       188:9                   188:22
       189:8                   189:15
      190:12                    191:2
       193:7                    194:6
       196:3                   196:20
      197:15                   197:24
       201:6                   202:22
       203:4                   203:12
      204:17                   204:24
       211:13                   212:4
       212:8                   212:25
      214:18                   215:12
      215:23                    216:8
       217:11                  217:15
      220:12                    221:9
      230:21                   231:14
       232:2                    232:7
      232:24                    234:3
       235:4                   235:19
       236:11                  236:14
       237:4                   237:16
      238:14                    239:2
       242:8                   244:10

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             Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                            Objections
       245:6                  245:13
      254:20                  254:13
       255:4                   256:6
       257:4                  257:10
       258:5                   258:9
       260:1                  260:14
      260:20                  260:24
      264:20                   265:4
      265:12                  265:22
      266:22                   267:8
      270:16                  272:10
      291:19                  293:14
       295:5                  295:22
      297:24                   298:8
       304:9                  304:17




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